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                                                           Exhibit G - U.S. Patent No. 10,339,520

 Claim No.                       Apple Pay- and/or Apple Wallet-Enabled Computing Device
 10 [Pre]: A method of storing   An Apple Pay and/or Apple Wallet-enabled computing device is an electronic device that practices a method of storing and
 and generating payment          generating payment information.
 information in an electronic
 device, the method
 comprising:




                                 See, e.g., Apple Pay, Apple, https://www.apple.com/apple-pay/; Devices compatible with Apple Pay, Apple (Sept. 24, 2024),
                                 https://support.apple.com/en-us/102896; Abby Ferguson, How to set up Apple Pay, Popular Sci. (May 12, 2024 3:04 PM EDT),
                                 https://www.popsci.com/diy/how-to-set-up-apple-pay/ (“[The Wallet app] is pre-installed on Apple devices, so you won’t need
                                 to install it first.”).


                                                                                                                [. . .]




                                                                                                                [. . .]
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 Claim No.                        Apple Pay- and/or Apple Wallet-Enabled Computing Device
                                                                                                                  [. . .]




                                  See, e.g., Apple Pay security and privacy overview, Apple (Oct. 8, 2024), https://support.apple.com/en-us/101554.




                                  See, e.g., Use Advanced Fraud Protection with Apple Card, Apple (Jan. 10, 2024), https://support.apple.com/en-us/102427.
 10[a]: accepting a user input    An Apple Pay- and/or Apple Wallet-enabled computing device accepts a user input of issued payment information input at a
 of issued payment                touch screen display of the electronic device, wherein the information comprises an issuer provided payment information.
 information input at a touch
 screen display of the
 electronic device, wherein the
 information comprises an
 issuer provided payment
 information;




                                  See, e.g., iPhone User Guide – iOS 18, Set up Apple Pay in Wallet on iPhone, Apple, https://support.apple.com/guide/iphone/
                                  set-up-apple-pay-iph9b7f53382/18.0/ios/18.0.
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 Claim No.                       Apple Pay- and/or Apple Wallet-Enabled Computing Device




                                 See, e.g., Apple Watch User Guide – WatchOS 11, Set up Apple Pay on Apple Watch, Apple, https://support.apple.com/guide/
                                 watch/set-up-apple-pay-apd285b3ae01/watchos.




                                 See, e.g., Set up Apple Pay, Apple (Sept. 25, 2024), https://support.apple.com/en-us/108398.
 10[b]: wherein the electronic   An Apple Pay- and/or Apple Wallet-enabled computing device comprises device-specific and user-specific information.
 device comprises device-
 specific and user-specific
 information; and




                                 See, e.g., Manage and use your Apple Account, Apple (Sept. 16, 2024), https://support.apple.com/en-us/105023.
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 Claim No.                    Apple Pay- and/or Apple Wallet-Enabled Computing Device




                              See, e.g., Laura McCamy, How to find the phone number associated with an iPhone in 3 different ways, Business Insider (Sept.
                              8, 2022, 3:59 PM PDT), https://www.businessinsider.com/guides/tech/how-to-find-phone-number-on-iphone.




                              See, e.g., Find the serial number or IMEI on your iPhone, iPad, or iPod touch, Apple (Dec. 6, 2023), https://support.apple.com/
                              en-us/108037; How to find the serial number or IMEI for your Apple Watch, Apple (Oct. 23, 2024), https://support.apple.com/
                              en-us/108040; Find your Mac model name and serial number, Apple (Oct. 21, 2024), https://support.apple.com/en-us/102767.
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 Claim No.                     Apple Pay- and/or Apple Wallet-Enabled Computing Device
 10[c]: wherein the issuer     An Apple Pay- and/or Apple Wallet-enabled computing device wirelessly communicates issuer provided payment information.
 provided payment
 information is communicated
 wirelessly; and




                               See, e.g., Apple Platform Security, Card provisioning security overview, Apple (May 7, 2024), https://support.apple.com/en-
                               gb/guide/security/sec0f005981a/web; Starriah, Apple Wallet requires internet connection to add credit card?, Apple Support
                               Community (Mar. 29, 2019), https://discussions.apple.com/thread/250267325?sortBy=best.




                               See, e.g., Prashant Ram, How Apple Pay works under the hood?, codeburst (Nov. 5, 2019), https://codeburst.io/how-does-apple-
                               pay-actually-work-f52f7d9348b7.
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EXHIBIT G - U.S. PATENT NO. 10,339,520                                                                                                                Page 6 of 9

 Claim No.                       Apple Pay- and/or Apple Wallet-Enabled Computing Device
 10[d]: receiving wirelessly a   An Apple Pay and/or Apple Wallet-enabled computing device wirelessly receives a static device account number payment
 static device account number    information for storage on the electronic device.
 payment information for
 storage on the electronic
 device; and wherein                                                                                             [. . .]




                                 See, e.g., Apple Platform Security, Card provisioning security overview, Apple (May 7, 2024), https://support.apple.com/en-
                                 gb/guide/security/sec0f005981a/web; Starriah, Apple Wallet requires internet connection to add credit card?, Apple Support
                                 Community (Mar. 29, 2019), https://discussions.apple.com/thread/250267325?sortBy=best..




                                 See, e.g., Prashant Ram, How Apple Pay works under the hood?, codeburst (Nov. 5, 2019), https://codeburst.io/how-does-apple-
                                 pay-actually-work-f52f7d9348b7.
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 Claim No.                          Apple Pay- and/or Apple Wallet-Enabled Computing Device
 10[e]: at least a portion of the   An Apple Pay and/or Apple Wallet-enabled computing device generates payment information, at least a portion of which is a
 payment information is a           limited use number for limited use by the device, in place of a issuer provided payment information
 limited use number for
 limited use by the device, in
 place of a issuer provided                                                                                         [. . .]
 payment information; and,




                                                                                                                    [. . .]




                                    See, e.g., Apple Pay security and privacy overview, Apple (Oct. 8, 2024), https://support.apple.com/en-us/101554; Apple Pay,
                                    Apple, https://www.apple.com/apple-pay/.




                                    See, e.g., Use Advanced Fraud Protection with Apple Card, Apple (Jan. 10, 2024), https://support.apple.com/en-us/102427.
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 Claim No.                       Apple Pay- and/or Apple Wallet-Enabled Computing Device
 10[f]: dynamically generating   An Apple Pay and/or Apple Wallet-enabled computing device dynamically generates a one-time limited-use number based on
 a one-time limited-use          at least one of a set of information including: user-identifying information; user secrets; device information; device secrets;
 number based on at least one    time; merchant; facility location; sequence count; payment information; account information; amount; and transaction
 of a set of information         information.
 including: user-identifying
 information; user secrets;
 device information; device
 secrets; time; merchant;
 facility location; sequence
 count; payment information;
 account information; amount;
 and transaction information;
 and



                                 See, e.g., Apple Platform Security, Payment authorization with Apple Pay, Apple (Feb. 18, 2021), https://support.apple.com/
                                 guide/security/payment-authorization-with-apple-pay-secc1f57e189/web; Apple Pay security and privacy overview, Apple (Oct.
                                 8, 2024), https://support.apple.com/en-us/101554.




                                 See, e.g., Use Advanced Fraud Protection with Apple Card, Apple (Jan. 10, 2024), https://support.apple.com/en-us/102427.
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 Claim No.                         Apple Pay- and/or Apple Wallet-Enabled Computing Device
 10[g]: using said static device   The Apple Pay and/or Apple Wallet-enabled computing device uses said static device account number and said dynamically
 account number and said           generated one-time limited-use number together in the place of issuer provided payment information for making a payment
 dynamically generated one-        transaction.
 time limited-use number
 together in the place of issuer
 provided payment                                                                                                 [. . .]
 information for making a
 payment transaction.




                                                                                                                  [. . .]




                                   See, e.g., Apple Pay security and privacy overview, Apple (Oct. 8, 2024), https://support.apple.com/en-us/101554;
                                   Apple Platform Security, Payment authorization with Apple Pay, Apple (Feb. 18, 2021), https://support.apple.com/guide/
                                   security/payment-authorization-with-apple-pay-secc1f57e189/web; Apple, Apple Pay Merchant Integration Guide at 5 (Jan.
                                   2024) available at https://developer.apple.com/apple-pay/Apple-Pay-Merchant-Integration-Guide.pdf (“Apple Pay uses device-
                                   specific tokenized credit or debit card credentials (DPAN) in place of a Payment Account Number (PAN).”).




                                   See, e.g., Use Advanced Fraud Protection with Apple Card, Apple (Jan. 10, 2024), https://support.apple.com/en-us/102427.
